            Case 21-03000-sgj Doc 14-4 Filed 01/10/21           Entered 01/10/21 17:55:17             Page 1 of 13




                                    Gregory Demo                 December 24, 2020                          212-561-7700
                                                                                                       gdemo@pszjlaw.com

N E W Y O R K, N Y
L O S A N G E L E S, C A
S A N F R A N C I S C O, C A
W I L M I N G T O N, D E

780 THIRD AVENUE
34th FLOOR
NEW YORK
                                    Via E-mail
NEW YORK 10017-2024
                                    James A. Wright III
TELEPHONE: 212/561 7700
                                    K&L Gates LLP
FACSIMILE: 212/561 7777
                                    State Street Financial Center
                                    One Lincoln Street
                                    Boston, Massachusetts 02111

                                    A. Lee Hogewood III
                                    K&L Gates LLP
                                    4350 Lassiter at North Hills Ave.
                                    Suite 300
                                    Raleigh, North Carolina 27609
LOS ANGELES
10100 SANTA MONICA BLVD.                      Re:     In re Highland Capital Management, L.P., Case
13th FLOOR                                            No. 19-34054-sgj (Bankr. N.D. Tex)
LOS ANGELES
CALIFORNIA 90067
                                    Dear Counsel:
TELEPHONE: 310/277 6910

FACSIMILE: 310/201 0760
                                            As you know, we represent Highland Capital Management,
                                    L.P. (the “Debtor”), the debtor-in-possession in the above-captioned
SAN FRANCISCO
                                    bankruptcy case.
150 CALIFORNIA STREET
15th FLOOR
SAN FRANCISCO                               On December 8, 2020, your firm filed that certain Motion for
CALIFORNIA 94111-4500               Order Imposing Temporary Restrictions on Debtor’s Ability, as
TELEPHONE: 415/263 7000             Portfolio Manager, to Initiate Sales by Non-Debtor CLO Vehicles
FACSIMILE: 415/263 7010             [D.I. 1528] (the “Motion”)1 on behalf of Highland Capital
                                    Management Fund Advisors, L.P., NexPoint Advisors, L.P.,
DELAWARE                            Highland Income Fund, NexPoint Strategic Opportunities Fund, and
919 NORTH MARKET STREET
                                    NexPoint Capital, Inc. (collectively, the “Movants”). After hearing
17th FLOOR
P.O. BOX 8705
                                    the sworn testimony of the Movants’ witness and the arguments
WILMINGTON                          made on the Movants’ behalf, Judge Jernigan was convinced that the
DELAWARE 19899-8705                 Movants were in fact Mr. James Dondero seeking to disrupt
TELEPHONE: 302/652 4100

FACSIMILE: 302/652 4400
                                    1
                                      All capitalized terms used but not defined herein shall have the meanings given
                                    to them in the Motion.
WEB:   www.pszjlaw.com


                                    DOCS_NY:41835.4 36027/002

                                                                                             EXHIBIT 6
Case 21-03000-sgj Doc 14-4 Filed 01/10/21           Entered 01/10/21 17:55:17   Page 2 of 13



                        James A. Wright III
                        A. Lee Hogewood III
                        December 24, 2020
                        Page 2

                        HCMP’s estate by using different controlled entities to accomplish
                        his ends.

                                On December 23, we received the letter attached as Exhibit
                        A (the “Letter”) from your firm on behalf of the Movants and CLO
                        Holdco, Ltd. (an entity affiliated with James Dondero) informing us
                        that they were seeking to terminate certain CLO management
                        agreements for “cause.” For the reasons set forth herein, among
                        others, such action is sanctionable under the circumstances and is
                        otherwise prohibited by the CLOs’ governing documents.

                               First, the Movants are owned and/or controlled by Mr.
                        Dondero. These facts were disclosed in the Movants’ public filings
                        with the Securities and Exchange Commission and confirmed by
                        Mr. Dustin Norris’s testimony at the hearing held on December 16,
                        2020. Consequently, the Movants’ attempt to terminate the CLO
                        management agreements violates the order entered on January 9,
                        2020 [D.I. 339] (the “January Order”), which prohibits Mr. Dondero
                        from “caus[ing] any Related Entity to terminate any agreements
                        with the Debtor.” A copy of the January Order is attached as
                        Exhibit B.

                                Second, “cause” does not exist to terminate the CLO
                        management agreements. The Debtor has a duty under the
                        Investment Advisers Act of 1940 to the CLOs, not to any specific
                        investor in the CLOs. See, e.g., Goldstein v. SEC, 451 F.3d 873,
                        881-82 (D.C. Cir. 2006) (“[t]he adviser owes fiduciary duties only to
                        the fund, not to the fund’s investors. . .”). The Debtor has, at all
                        times, fulfilled its statutory and contractual duties to the CLOs and
                        will continue to do so. As counsel, you have a duty to investigate
                        the spurious allegations in your pleadings, but you failed to do so.
                        Your clients’ desire to re-assert control over the CLOs is not
                        evidence to the contrary.

                                Third, the Movants, by their own admission, consider
                        themselves affiliates of the Debtor. Under the management
                        agreements, affiliates of a manager cannot replace a manager, and
                        therefore, are prohibited from removing a manager.

                               Please confirm to us, in writing, no later than 5:00 p.m. CT
                        on Monday, December 28, 2020, that you are withdrawing the Letter
                        and that the Movants and CLO Holdco, Ltd., commit not to take any



                        DOCS_NY:41835.4 36027/002

                                                                         EXHIBIT 6
Case 21-03000-sgj Doc 14-4 Filed 01/10/21           Entered 01/10/21 17:55:17   Page 3 of 13



                        James A. Wright III
                        A. Lee Hogewood III
                        December 24, 2020
                        Page 3

                        actions, either directly or indirectly, to terminate the CLO
                        management agreements. If we do not receive such confirmation,
                        the Debtor will seek immediate relief from the bankruptcy court,
                        including an action for contempt for violating the January Order and
                        sanctions under Federal Rule of Bankruptcy Procedure 9011 or
                        otherwise.

                                The Debtor reserves all rights it may have, whether in law
                        equity, or contract, including the right to seek reimbursement of any
                        and all fees and expenses incurred in seeking sanctions.

                                Please feel free to contact me with any questions.

                                                          Sincerely,


                                                         hype
                                                          Gregory Demo

                        Enclosure
                        cc:    Jeffrey Pomerantz, Esq.
                               Ira Kharasch, Esq.
                               John Morris, Esq.
                               John J. Kane, Esq.




                        DOCS_NY:41835.4 36027/002

                                                                         EXHIBIT 6
Case 21-03000-sgj Doc 14-4 Filed 01/10/21   Entered 01/10/21 17:55:17   Page 4 of 13




                                    Exhibit A




                                                                 EXHIBIT 6
Case 21-03000-sgj Doc 14-4 Filed 01/10/21                Entered 01/10/21 17:55:17            Page 5 of 13




December 23, 2020                                                           A. Lee Hogewood, III
                                                                            Lee.hogewood@klgates.com

                                                                            T: 1-919-743-7306




Jeffrey N. Pomerantz
Ira D. Kharasch
John A. Morris
Gregory V. Demo
Hayley R. Winograd
Pachulski Stang Ziehl & Jones, LLP
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067

Dear Counsel:

        I am writing to you on behalf of our clients Highland Capital Management Fund Advisors, L.P.
(“HMCFA”) and NexPoint Advisors, L.P. (“NexPoint”, and together with HCMFA, the “Advisors”), and
Highland Income Fund, NexPoint Strategic Opportunities Fund, and NexPoint Capital, Inc. (together, the
“Funds”). CLO Holdco, Ltd. ("CLO Holdco") whose counsel is copied below, joins in this notice and
request.

        As you are aware, certain registered investment companies and a business development
company managed by either NexPoint or HCMFA own preference shares in many of the CLOs. In the
following cases those companies own a majority of such shares 1:

    •   Stratford CLO, Ltd. 69.05%
    •   Grayson CLO, Ltd. 60.47%
    •   Greenbriar CLO, Ltd. 53.44%




1
 These ownership percentages are derived from information provided by the Debtor. If the Debtor contends that
the ownership percentages are inaccurate, please inform us of the Debtor’s differing calculations.




                                                                                      EXHIBIT 6
Case 21-03000-sgj Doc 14-4 Filed 01/10/21                       Entered 01/10/21 17:55:17    Page 6 of 13




        In other cases, such companies in combination with CLO Holdco hold, a super-majority, or a
majority of the preference shares in the following CLOs:

       •   Liberty CLO, Ltd. 70.43%
       •   Stratford CLO, Ltd. 69.05%* 2
       •   Aberdeen Loan Funding, Ltd. 64.58%
       •   Grayson CLO, Ltd. 61.65%*
       •   Westchester CLO, Ltd. 58.13%
       •   Rockwall CDO, Ltd. 55.75%
       •   Brentwood CLO, Ltd. 55.74%
       •   Greenbriar CLO, Ltd. 53.44%*

           Additionally, such companies own significant minority stakes in the following CLO’s:

       •   Eastland CLO, Ltd. 41.69%
       •   Red River CLO, Ltd. 33.33%

        The ownerships described above represent in many cases the total remaining outstanding
interests in such CLOs, because the noteholders have been paid in full. In others, the remaining
noteholders represent only a small percentage of remaining interests. Thus, the economic ownership of
the registered investment companies, business development company, and CLO Holdco largely
represent the investors in the CLOs identified above.

         In pleadings filed with the Bankruptcy Court, you asserted that one or more of the entities
identified above lacked the authority to seek a replacement of the Debtor as fund manager because of
the alleged affiliate status of the beneficial owners of such entities. We disagree.

         Consequently, in addition to our request of yesterday, where appropriate and consistent with
the underlying contractual provisions, one or more of the entities above intend to notify the relevant
trustees and/or issuers that the process of removing the Debtor as fund manager should be initiated,
subject to and with due deference for the applicable provisions of the United States Bankruptcy Code,
including the automatic stay of Section 362. The basis for initiating the process for such removal
includes, but is not limited to, the fact that HCMLP’s duties, as set forth in the portfolio management
agreements of the CLOs, are subject to the requirements of the Investment Advisers Act of 1940
(“Advisers Act”). HCMLP appears to be acting contrary to those duties under the agreements and where
HCMLP is not fulfilling its duties under the portfolio management agreement it is therefore violating the
Advisers Act. Thus, because HCMLP is (i) terminating employees on January 31, 2021, which will result in
a loss of the employees that have traditionally serviced, including key investment professionals
identified in the transactional documents for those CLOs (generally Mark Okada and Jim Dondero); (ii)
ignoring the requests of the Advisors, Funds, and CLO Holdco, which together account for all or a
majority of interests in certain CLOs, and selling assets of those CLOs prior to plan confirmation; (iii)


2
    CLO’s marked with an asterisk (*) appear in the foregoing list as well.




                                                                                     EXHIBIT 6
Case 21-03000-sgj Doc 14-4 Filed 01/10/21               Entered 01/10/21 17:55:17           Page 7 of 13




adding a replacement manager as subadviser prior to January 31, 2021; and (iv) for other cause, the
Advisors, Funds, and CLO Holdco have concluded that they have no choice but to initiate HCMLP’s
removal as fund manager where such entities are contractually and legally permitted or obligated to do
so.

        Because the process of removal is being initiated, subject to the applicable provisions of the
Bankruptcy Code, we respectfully request that no further CLO transactions occur at least until the issues
raised by and addressed in the Debtor’s plan are resolved at the confirmation hearing. To the extent
there are CLO transactions prior to the confirmation, we intend to fully explore the business justification
for doing so, as we do not believe there is any rational business reason to liquidate securities prior to
that time.



Sincerely,

A. Lee Hogewood, III
A. Lee Hogewood, III




                                                                                    EXHIBIT 6
Case 21-03000-sgj Doc 14-4 Filed 01/10/21   Entered 01/10/21 17:55:17   Page 8 of 13




                                    Exhibit B




                                                                 EXHIBIT 6
     Case 19-34054-sgj11
     Case 21-03000-sgj Doc 14-4
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                                       01/09/20 Entered
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                                                         01/09/2017:55:17
                                                                  19:01:35   Page 9 1ofof135
                                                                  Docket #0339 Page
                                                                                Date Filed: 01/09/2020




The following constitutes the ruling of the court and has the force and effect therein described.



 Signed January 9, 2020
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

                                                                        §
         In re:                                                         § Chapter 11
                                                                        §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,1                            § Case No. 19-34054-sgj11
                                                                        §
                                          Debtor.                       § Related to Docket Nos. 7 & 259

              ORDER APPROVING SETTLEMENT WITH OFFICIAL COMMITTEE OF
             UNSECURED CREDITORS REGARDING GOVERNANCE OF THE DEBTOR
               AND PROCEDURES FOR OPERATIONS IN THE ORDINARY COURSE

                       Upon the Motion of the Debtor to Approve Settlement with Official Committee of

     Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in the

     Ordinary Course (the “Motion”),2 filed by the above-captioned debtor and debtor in possession



     1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
     2
       Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.



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Case 21-03000-sgj DocDoc
     19-34054-sgj11   14-4 Filed
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                              Filed 01/09/20 Entered 01/10/21
                                               Entered        17:55:17
                                                       01/09/20 19:01:35 Page 102ofof13
                                                                           Page       5



(the “Debtor”); the Court having reviewed the Motion, and finding that (a) the Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§157 and 1334, (b) this is a core proceeding

pursuant to 28 U.S.C. §157(b)(2)(A), and (c) notice of this Motion having been sufficient under

the circumstances and no other or further notice is required; and having determined that the legal

and factual bases set forth in the Motion establish just cause for the relief granted herein; and

having determined that the relief sought in the Motion is in the best interests of the Debtor and its

estate; and after due deliberation and sufficient cause appearing therefore,

               IT IS HEREBY ORDERED THAT:

               1.      The Motion is GRANTED on the terms and conditions set forth herein, and

the United States Trustee’s objection to the Motion is OVERRULED.

               2.      The Term Sheet is approved and the Debtor is authorized to take such steps

as may be necessary to effectuate the settlement contained in the Term Sheet, including, but not

limited to: (i) implementing the Document Production Protocol; and (ii) implementing the

Protocols.

               3.      The Debtor is authorized (A) to compensate the Independent Directors for

their services by paying each Independent Director a monthly retainer of (i) $60,000 for each of

the first three months, (ii) $50,000 for each of the next three months, and (iii) $30,000 for each of

the following six months, provided that the parties will re-visit the director compensation after the

sixth month and (B) to reimburse each Independent Director for all reasonable travel or other

expenses, including expenses of counsel, incurred by such Independent Director in connection

with its service as an Independent Director in accordance with the Debtor’s expense

reimbursement policy as in effect from time to time.




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Case 21-03000-sgj DocDoc
     19-34054-sgj11   14-4 Filed
                         339      01/10/21
                              Filed 01/09/20 Entered 01/10/21
                                               Entered        17:55:17
                                                       01/09/20 19:01:35 Page 113ofof13
                                                                           Page       5



               4.      The Debtor is authorized to guarantee Strand’s obligations to indemnify

each Independent Director pursuant to the terms of the Indemnification Agreements entered into

by Strand with each Independent Director on the date hereof.

               5.      The Debtor is authorized to purchase an insurance policy to cover the

Independent Directors.

               6.      All of the rights and obligations of the Debtor referred to in paragraphs 3

and 4 hereof shall be afforded administrative expense priority under 11 U.S.C. § 503(b).

               7.      Subject to the Protocols and the Term Sheet, the Debtor is authorized to

continue operations in the ordinary course of its business.

               8.      Pursuant to the Term Sheet, Mr. James Dondero will remain as an employee

of the Debtor, including maintaining his title as portfolio manager for all funds and investment

vehicles for which he currently holds that title; provided, however, that Mr. Dondero’s

responsibilities in such capacities shall in all cases be as determined by the Independent Directors

and Mr. Dondero shall receive no compensation for serving in such capacities. Mr. Dondero’s

role as an employee of the Debtor will be subject at all times to the supervision, direction and

authority of the Independent Directors. In the event the Independent Directors determine for any

reason that the Debtor shall no longer retain Mr. Dondero as an employee, Mr. Dondero shall

resign immediately upon such determination.

               9.      Mr. Dondero shall not cause any Related Entity to terminate any agreements

with the Debtor.

               10.     No entity may commence or pursue a claim or cause of action of any kind

against any Independent Director, any Independent Director’s agents, or any Independent




                                                                              EXHIBIT 6
Case
Case 21-03000-sgj DocDoc
     19-34054-sgj11   14-4 Filed
                         339      01/10/21
                              Filed 01/09/20 Entered 01/10/21
                                               Entered        17:55:17
                                                       01/09/20 19:01:35 Page 124ofof13
                                                                           Page       5



Director’s advisors relating in any way to the Independent Director’s role as an independent

director of Strand without the Court (i) first determining after notice that such claim or cause of

action represents a colorable claim of willful misconduct or gross negligence against Independent

Director, any Independent Director’s agents, or any Independent Director’s advisors and (ii)

specifically authorizing such entity to bring such claim. The Court will have sole jurisdiction to

adjudicate any such claim for which approval of the Court to commence or pursue has been

granted.

               11.     Nothing in the Protocols, the Term Sheet or this Order shall affect or impair

Jefferies LLC’s rights under its Prime Brokerage Customer Agreements with the Debtor and non-

debtor Highland Select Equity Master Fund, L.P., or any of their affiliates, including, but not

limited to, Jefferies LLC’s rights of termination, liquidation and netting in accordance with the

terms of the Prime Brokerage Customer Agreements or, to the extent applicable, under the

Bankruptcy Code’s “safe harbor” protections, including under sections 555 and 561 of the

Bankruptcy Code. The Debtor shall not conduct any transactions or cause any transactions to be

conducted in or relating to the Jefferies LLC accounts without the express consent and cooperation

of Jefferies LLC or, in the event that Jefferies withholds consent, as otherwise ordered by the

Court. For the avoidance of doubt, Jefferies LLC shall not be deemed to have waived any rights

under the Prime Brokerage Customer Agreements or, to the extent applicable, the Bankruptcy

Code’s “safe harbor” protections, including under sections 555 and 561 of the Bankruptcy Code,

and shall be entitled to take all actions authorized therein without further order of the Court

               12.     Notwithstanding any stay under applicable Bankruptcy Rules, this Order

shall be effective immediately upon entry.




                                                                               EXHIBIT 6
Case
Case 21-03000-sgj DocDoc
     19-34054-sgj11   14-4 Filed
                         339      01/10/21
                              Filed 01/09/20 Entered 01/10/21
                                               Entered        17:55:17
                                                       01/09/20 19:01:35 Page 135ofof13
                                                                           Page       5



              13.     The Court shall retain jurisdiction over all matters arising from or related to

the interpretation and implementation of this Order, including matters related to the Committee’s

approval rights over the appointment and removal of the Independent Directors.

                                    ## END OF ORDER ##




                                                                              EXHIBIT 6
